                                                                                                      Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                              18BU-CV03640

            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. )


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
Kevin Speltz, Manager                             )
1302 S. 59th Street                               )    Case No.
St. Joseph, MO 64507                              )
                                                  )
               Plaintiff,                         )
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
Mark Ridall, Manager                              )
4 Pitcairn Avenue, Suite 4                        )
Trenton, New Jersey 08628                         )
                                                  )
               Defendant.
                                                  )

                    VERIFIED PETITION FOR DAMAGES, SPECIFIC
                       PERFORMANCE & INJUNCTIVE RELIEF

       COMES NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

(“VetBridge”), by and through counsel, and for its causes of action against NewMarket

Pharmaceuticals, LLC (“NewMarket”), states and alleges as follows:

                                           PARTIES

       1.      Plaintiff VetBridge is a limited liability company organized and existing under the

laws of the State of Missouri, with its principal place of business located at 1302 S. 59th Street,

St. Joseph, Missouri 64508.

       2.      Defendant NewMarket is a limited liability company organized and existing under

the laws of the State of Delaware, with its principal place of business located at 4 Pitcairn

Avenue, Suite 4, Trenton, New Jersey 08628. Defendant NewMarket may be served with

Summons and a copy of the Petition by leaving copies of the same at its principal place of

business with the person having charge thereof.



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                                 JURISDICTION & VENUE

       3.      This Court has personal jurisdiction over NewMarket pursuant to RSMo.

§506.500(1) and (2), in that, among other things, pursuant to Paragraph 14(b) of the Exclusive

Distribution and License Agreement which is the subject of this action, the parties consented to

jurisdiction within the Western District of Missouri where a party reasonably determined that

injunctive relief was necessary; such agreement was negotiated and entered into in the State of

Missouri; said agreement contemplated performance by both VetBridge and NewMarket within

the State of Missouri, including, but not limited to, NewMarket sending multiple invoices to

VetBridge in Missouri for payment of VetBridge’s investment from Missouri, and VetBridge’s

development and/or performance of its marketing, sales forecasting and distribution under the

agreement within and from the State of Missouri; NewMarket, through representatives and its

agents, attended several meetings in the State of Missouri, placed and participated in numerous

phone calls to and with VetBridge and its representatives and agents in the State of Missouri;

sent numerous emails and other documents and reports to VetBridge within the State of

Missouri; and otherwise transacted business within the State of Missouri. Further, VetBridge’s

causes of action herein arose out of the Exclusive Distribution and License Agreement and

NewMarket’s transaction of business within the State of Missouri, and NewMarket had sufficient

minimum contacts with the State of Missouri such that the exercise of personal jurisdiction over

NewMarket in this action comports with due process.

       4.      Venue in this Court is proper pursuant to RSMo. §508.010(4), in that NewMarket

is a non-resident.

                                           Count I
                                     (Breach of Contract)

       5.      NewMarket is engaged in developing drug delivery systems to enhance the

quality of treatment for animals, by employing state of the art formulation technology to develop

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and adapt new oral delivery technologies for established medicines that exist in outdated or

inefficient delivery systems.

       6.          VetBridge and its members are companies engaged in the successful marketing,

sale and distribution of animal healthcare products and veterinary supplies, including vaccines

and pharmaceuticals, both nationally and internationally.

       7.          Effective, June 27, 2014 (“Effective Date”), for a term of thirty (30) years,

NewMarket, as Manufacturer, and VetBridge, as Distributor, entered into an Exclusive

Distribution and License Agreement (“Agreement”) with respect to the development,

manufacture, supply, marketing and distribution of NewMarket products, consisting of rapidly

dissolving formulations of omeprazole (used in the treatment and prevention of ulcers), including

omeprazole direct system introduction (DSI) compositions for use in all non-human animals,

especially equine animals (hereinafter, NewMarket’s “Omeprazole DSI Products”), as well as

the licensing all of NewMarket’s intellectual property and patent rights relating thereto. A true

and correct copy of the Agreement is attached hereto as Exhibit A and is incorporated herein by

reference.

       8.          Pursuant to the Agreement, in exchange for VetBridge’s payment of the total sum

of $4,000,000, to be paid as provided for therein, NewMarket, among other things,

             (a)      Appointed VetBridge as its “sole and exclusive authorized wholesale

                      distributor and reseller to advertise, promote, market, distribute, supply and

                      sell (“Distribute” or “Distribution”)” NewMarket’s Omeprazole DSI Products,

                      including (i) rapidly dissolving formulations of omeprazole (for both the

                      treatment and prevention of ulcers), including omeprazole direct system

                      introduction (DSI) compositions for use in all non-human animals, especially

                      equine animals; (ii) revisions, alterations or improvements to the


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        NewMarket’s Omeprazole DSI Products; and (iii) new veterinary products

        developed by NewMarket in the contractually agreed upon Field, consisting of

        the “veterinary use of rapidly dissolving formulations of omeprazole in all

        non-human animals including especially horses and other equine animals,”

        within the defined Territory, consisting of “the veterinary market in the United

        States of America including all of its states, districts, territories and

        possessions, including the District of Columbia”; and

  (b)   Granted VetBridge, “in connection with the Distribution of the [Omeprazole

        DSI] Products in the Territory, an exclusive, transferable, perpetual and

        royalty-free right and license to use, sell, offer for sale, import, and Distribute,

        with the right to sub-license, among other things, [NewMarket’s] IP

        associated with the [Omeprazole DSI] Products including but not limited to”

        NewMarket’s Patent Rights, “including all patents and patent applications,

        and all divisionals, continuations, continuations-in-part, counterparts, re-

        examinations, reissues, extensions, registrations, and supplementary or

        complementary certificates and the like, both domestic and foreign, and items

        which claim the benefit of priority to any of the foregoing,” “whether in whole

        or in part, directly or indirectly owned, licensed, and/or optioned (with the

        right to grant sub-licenses) by [NewMarket] or an affiliate thereof, as of the

        Effective Date or during the term of this Agreement, which relate to [the

        Omeprazole DSI] Products, and their development, manufacture, or use in the

        Field and in the Territory,” including, but not limited to, the following:




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                   Item Countr Patent Application or Filing Date         Title
                          y         Patent  No.
                     1 US      61/437763             01/31/2011
                     2 US      13/343,692; issued as 01/04/2012;  Animal treatments
                               8,722,636             issued
                                                     05/13/2014
                                                     05/12/2014; Animal Treatments
                               14/275,019; issued as
                     3 US                            issued
                               10,022,361
                                                     07/18/2018
                                                     05/12/2014; Animal Treatment
                               14/275,031; issued as
                     4 US                            issued
                               9,402,835             08/02/2016
                     5    WO       PCT/US2012/020242       01/04/2012       Animal Treatment
                     6    US       61/674,435              07/23/2012
                     7    US       61/678,355              01/08/2012
                     8    US       61/641,509              02.05.2012
                     9    WO       PCT/US2012/070031       12/17/2012       Pharmaceutical
                                                                            compositions for
                                                                            direct systemic
                                                                            introduction
                     10 US        14/398,085              10/30/2014
                     11 US        16/014,290              06/21/2018


(Hereinafter collectively referred to as NewMarket’s “IP/Patent Rights”).

       9.     Pursuant to the Agreement, VetBridge’s $4,000,000 was to be used “solely for

direct expenses related to the development of the [Omeprazole DSI] Products,” including, but

not limited to, the direct expenses associated with preparing, prosecuting and obtaining approval

of a New Animal Drug Application (“NADA”) for such products, both for treatment and

prevention, from the Federal Food and Drug Administration’s (“FDA”) Center for Veterinary

Medicine (“CVM”) and conducting necessary field clinical studies through a third party Contract

Research Organization (“CRO”), VetPharm, Inc. (“VetPharm”) in connection with the same.

       10.    Except for VetBridge’s payment of $4,000,000, NewMarket was responsible for

performing and funding all other steps and tasks necessary to provide VetBridge with the

Omeprazole DSI Products in a saleable form for distribution, including, but not limited to,

obtaining the necessary approvals from the FDA’s CVM and manufacturing and supplying

VetBridge with the Omeprazole DSI Products in a saleable form for distribution.

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       11.     VetBridge has fully performed its obligations under the Agreement and made

timely payment of the amounts it was invoiced by NewMarket with respect to the $4,000,000 it

agreed to pay under the Agreement. In fact, by November 23, 2015, VetBridge had paid

NewMarket the total sum of $4,002,435.

       12.     Despite doing so, and notwithstanding VetBridge’s numerous demands,

NewMarket has failed and refused to perform and provide the funding required to perform the

steps and tasks necessary to obtain FDA approval from the CVM and provide VetBridge with its

Omeprazole DSI Products in a saleable form for distribution; all in material breach of its

obligations under the Agreement.

       13.     As a direct and proximate result of NewMarket’s breach of its obligations under

the Agreement, VetBridge has sustained and continues to sustain substantial damages, including,

but not limited to, the fees and expenses VetBridge incurred to design and obtain trademark

registrations for the names and logos under which it intended to sell the Omeprazole DSI

Products, and the net profits VetBridge would have earned from the sale and distribution of such

Omeprazole DSI Products, in an amount to be determined at trial, but reasonably and

conservatively estimated to be in amount in excess of $81,000,000.

       14.     Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       15.     All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count I of its Petition for:

       (a)     VetBridge’s actual damages, including, but not limited to the fees and expenses

               VetBridge incurred to design and obtain trademark registrations for the names and


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               logos under which it intended to sell NewMarket’s Omeprazole DSI Products, and

               the net profits VetBridge would have earned from the sale and distribution of such

               Omeprazole DSI Products; all in an amount to be determined at trial;

       (b)     Prejudgment and post judgment interest at the highest rate allowable by law;

       (c)     VetBridge’s reasonable attorneys’ fees and expenses;

       (d)     The costs of this action; and

       (e)     Such further and additional relief as the Court deems just and proper under the

               circumstances.

                                            Count II
                                       (Breach of Contract)

       16.     In the alternative, for Count II of its Petition, VetBridge restates and adopts by

reference the allegations set forth in ¶¶ 1 through 15, above, as though fully set forth herein.

       17.     Pursuant to the Agreement, VetBridge’s $4,000,000 was to be used “solely for

direct expenses related to the development of the [Omeprazole DSI] Products,” including, but

not limited to, the direct expenses associated with preparing, prosecuting and obtaining approval

of a NADA for such products, both for treatment and prevention, from the FDA’s CVM and

conducting necessary field clinical studies through VetPharm in connection with the same.

       18.     The Agreement provides that “any use of funds by [NewMarket] contrary to [the

foregoing restriction] shall provide [VetBridge] with the right to immediate repayment from

[NewMarket] of all monies paid to [NewMarket] by [VetBridge].”

       19.     By November 23, 2015, VetBridge had paid NewMarket the total sum of

$4,002,435. VetBridge’s payments of the foregoing sum were made in response to invoices

VetBridge received from NewMarket whereby NewMarket represented that the amounts

invoiced were for the direct expenses NewMarket had paid to the specified vendors or third

parties in connection with the development of its Omeprazole DSI Products.

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       20.     The Agreement provides VetBridge with the right to audit NewMarket’s records

and information to, among other things, ensure that VetBridge’s payments were being used

solely in accordance with the express limitations and restrictions set forth in the Agreement.

       21.     On or about April 5, 2016, VetBridge requested that NewMarket provide it with a

detailed, itemized reconciliation of how VetBridge’s money was spent.

       22.     After reviewing the Excel spreadsheets NewMarket provided to VetBridge in

response to that request, it was discovered that, contrary to the Agreement’s restrictions and

limitations on NewMarket’s expenditure of the funds paid by VetBridge, as well as the

representations made by NewMarket in its invoices to VetBridge, NewMarket, among other

things, had used VetBridge’s funds to pay for salaries, wages, payroll taxes and other

administrative and overhead expenses in an amount in excess of $1,000,000, and that

NewMarket, pursuant to the invoices it submitted to VetBridge, had overcharged VetBridge by

approximately $1,612,070.15 from what it actually paid the vendors and other third parties, as

reflected on such invoices.

       23.     As a result of the foregoing, on or about May 17, 2016, VetBridge notified

NewMarket of its findings and advised that it was necessary for VetBridge to conduct a detailed

audit of the NewMarket’s invoices to VetBridge, as well as the underlying expenses and the

invoices reflected thereon, so that it could ensure that the amounts NewMarket charged to

VetBridge were proper.

       24.     NewMarket has failed and refused to permit VetBridge to conduct the requested

audit, or to provide VetBridge with access to the information and records necessary to conduct

the same.

       25.     Pursuant to the Agreement, and because NewMarket used the funds paid by

VetBridge contrary to the limitations and restrictions in the Agreement, as an alternative to its


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claim for breach of contract in Count I, above, VetBridge is entitled to repayment of the full

$4,002,435 it paid to NewMarket, together with prejudgment interest at the highest rate

allowable by law from the date(s) VetBridge paid such sums to NewMarket.

       26.     Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       27.     All conditions precedent to the maintenance of this action have occurred or been

waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count II of its Petition for:

       (a)     The principal sum of $4,002,435;

       (b)     prejudgment and post-judgment interest at the highest rate allowable by law;

       (c)     VetBridge’s reasonable attorneys’ fees and expenses;

       (d)     The costs of this action; and

       (e)     Such further and additional relief as the Court deems just and proper under the

               circumstances.

                                              Count III
                                       (Specific Performance)

       28.     For Count III of its Petition, VetBridge restates and adopts by reference the

allegations set forth in ¶¶ 1 through 27, above, as though fully set forth herein.

       29.     The Agreement expressly prohibited NewMarket from assigning, subcontracting,

delegating or otherwise transferring any of its rights or obligations under the Agreement, or from

contracting with any third parties to perform any of its obligations under the Agreement, without

VetBridge’s prior written consent, which consent has never been given.



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       30.     Further, given NewMarket’s grant to VetBridge of “an exclusive, transferable,

perpetual and royalty-free right and license to use, sell, offer for sale, import, and Distribute,

with the right to sub-license” NewMarket’s IP/Patent Rights within the agreed upon Field and

Territory, NewMarket was prohibited from assigning or granting to any other person or entity a

license for its IP/Patent Rights in the contractually agreed upon Field (i.e., the “veterinary use of

rapidly dissolving formulations of omeprazole in all non-human animals including especially

horses and other equine animals”) and Territory (i.e., “the veterinary market in the United States

of America including all of its states, districts, territories and possessions, including the District

of Columbia”). Additionally, the Agreement, at Paragraph 12(f), expressly prohibits NewMarket

from granting any security interests or permitting any liens against its IP/Patent Rights, without

VetBridge’s prior consent, which consent has never been given.

       31.     Further, pursuant to the Agreement, VetBridge and NewMarket agreed that the

parties intended that NewMarket would retain control of the manufacturing and supply of the

Omeprazole DSI Products to VetBridge, and agreed, in the event of a “change of control” of

NewMarket, that

               [VetBridge] shall have the exclusive right to make and

               commercialize [the Omeprazole DSI] Products in the Field and in

               the Territory as granted under the Agreement as well as the right to

               assume the beneficial position of [NewMarket’s] relationship with

               any Collaborator [including, but not limited to, Collaborators

               Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

               India,] to make and commercialize the [Omeprazole DSI] Product

               in the Field and in the Territory without further consideration or

               compensation to [NewMarket’s] successor. At its sole discretion,


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              in the event of a change of control of [NewMarket], [VetBridge]

              will have the right to…obtain a license from [NewMarket] (or its

              successor as applicable) for all rights to the [Omeprazole DSI]

              Products, including manufacturing, subject to no more than a

              maximum running royalty rate of 7.00% of Net Sales (whereby,

              unless mutually agreed otherwise, "Net Sales" shall correspond to

              gross revenues received from the sale of [the Omeprazole DSI]

              Products less sales and/or use taxes actually paid, import and/or

              export duties actually paid, outbound transportation prepaid or

              allowed, and amounts allowed or credited due to returns (not to

              exceed the original billing or invoice amount), with such maximum

              royalty rate contingent upon [VetBridge] securing no less

              favorable      terms   with   any   [NewMarket]    Collaborators   as

              [NewMarket] had obtained….

(Agreement at ¶13(d)(ii)).

       32.    For purposes of the foregoing provision, NewMarket and VetBridge agreed that a

“change of control,” included the following events, among others:

              (i) any Person is or becomes the "beneficial owner" (as defined in

              Rules 13d-3 and 13d-5 of the Securities Exchange Act of 1934, as

              amended, except that a person shall be deemed to have "beneficial

              ownership" of all shares that any such person has the right to

              acquire, whether such right is exercisable immediately or only after

              the passage of time), directly or indirectly, of over 50% of the total

              voting power of all classes of capital stock then outstanding of


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               [NewMarket] normally entitled to vote in elections of directors; ….

               or (iii) a party conveys, transfers or leases all or substantially all of

               its assets relating to this agreement to any person….”

       33.     On October 10, 2014, the parties’ filed a “NOTICE OF LICENSE RIGHTS IN A

US PATENT APPLICATION OR US PATENT” with the U.S. Patent and Trademark Office

(“USPTO”), as Document No. 503014511, EPAS ID: PAT3061111, at Patent Reel 033930,

Frame 0226-0228, giving notice to the world of VetBridge’s rights in the IP/Patent Rights.

       34.     On or about May 6, 2016, NewMarket informed VetBridge for the first time, that

it had purportedly transferred an 80% ownership interest in NewMarket to Aboris Animal

Health, LLC (“Aboris”), a Delaware limited liability company; that it had purportedly assigned

its right to manufacture its Omeprazole DSI Products to Aboris; and that it had purportedly

transferred its IP/Patent Rights related to the Omeprazole DSI Products to an unnamed, overseas

company for “tax purposes.”

       35.     Thereafter, on or about March 29, 2017, NewMarket advised VetBridge that it

had completed its engagement of AgriCapital, as a broker, for the purported sale of the

distribution rights to NewMarket’s Omeprazole DSI Products on a global basis, including within

the United States, in direct violation of VetBridge’s exclusive rights under the Agreement.

       36.     Upon information and belief, NewMarket’s IP/Patent Rights with respect to its

Omeprazole DSI Products and its relationship with any Collaborators, including, but not limited

to, Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of India, to make

and commercialize its Omeprazole DSI Products, constitute all or substantially all of

NewMarket’s assets relating to the Agreement.

       37.     NewMarket’s purported assignment of its right to manufacture its Omeprazole

DSI Products to Aboris, as well as the purported transfer of its IP/Patent Rights related to the


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Omeprazole DSI Products to an unnamed, overseas company for “tax purposes,” constitute a

change of control under the Agreement, as did the purported transfer of an 80% ownership

interest in NewMarket to Aboris.

       38.         Further, NewMarket’s purported assignment of its right to manufacture its

Omeprazole DSI Products to Aboris and the purported transfer of its IP/Patent Rights related to

the Omeprazole DSI Products to an unnamed, overseas company for “tax purposes,” if actually

done, though no assignments of such rights have been filed with the USPTO, as well as its

engagement of AgriCapital, as a broker, for the purported sale of the distribution rights to

NewMarket’s Omeprazole DSI Products on a global basis, including within the United States,

were done without VetBridge’s consent, written or otherwise, constitute material breaches of

NewMarket’s obligations under the Agreement, and are void.

       39.         VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole DSI

Products and the IP/Patent Rights relating thereto are unique, and VetBridge is without an

adequate remedy at law.

       40.         As a direct and proximate result of the change of control with respect to

NewMarket, and its material breaches of the Agreement, VetBridge is entitled to a judgment of

specific performance, granting VetBridge

             (a)      The exclusive right to make and commercialize [the

                      Omeprazole DSI] Products in the Field and in the Territory as

                      granted under the Agreement as well as the right to assume the

                      beneficial position of [NewMarket’s] relationship with any

                      Collaborator [including, but not limited to, Collaborators

                      Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

                      India,] to make and commercialize the [Omeprazole DSI]


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                      Product in the Field and in the Territory without further

                      consideration or compensation to [NewMarket’s] successor;

                      and

             (b)      A license from [NewMarket] (or its successor as applicable)

                      for all rights to the [Omeprazole DSI] Products, including

                      manufacturing, subject to no more than a maximum running

                      royalty rate of 7.00% of Net Sales (whereby, unless mutually

                      agreed otherwise, "Net Sales" shall correspond to gross

                      revenues received from the sale of [the Omeprazole DSI]

                      Products less sales and/or use taxes actually paid, import and/or

                      export duties actually paid, outbound transportation prepaid or

                      allowed, and amounts allowed or credited due to returns (not to

                      exceed the original billing or invoice amount), with such

                      maximum royalty rate contingent upon [VetBridge] securing

                      no less favorable terms with any [NewMarket] Collaborators as

                      [NewMarket] had obtained.

       41.         Further, pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       42.         All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays that judgment be entered in its favor and against NewMarket Pharmaceuticals,

LLC on Count III of its Petition for specific performance under the Agreement, granting

VetBridge:




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   (a)    The exclusive right to make and commercialize [the

          Omeprazole DSI] Products in the Field and in the Territory as

          granted under the Agreement as well as the right to assume the

          beneficial position of [NewMarket’s] relationship with any

          Collaborator [including, but not limited to, Collaborators

          Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

          India,] to make and commercialize the [Omeprazole DSI]

          Product in the Field and in the Territory without further

          consideration or compensation to [NewMarket’s] successor;

          and

   (b)    A license from [NewMarket] (or its successor as applicable)

          for all rights to the [Omeprazole DSI] Products, including

          manufacturing, subject to no more than a maximum running

          royalty rate of 7.00% of Net Sales (whereby, unless mutually

          agreed otherwise, "Net Sales" shall correspond to gross

          revenues received from the sale of [the Omeprazole DSI]

          Products less sales and/or use taxes actually paid, import and/or

          export duties actually paid, outbound transportation prepaid or

          allowed, and amounts allowed or credited due to returns (not to

          exceed the original billing or invoice amount), with such

          maximum royalty rate contingent upon [VetBridge] securing

          no less favorable terms with any [NewMarket] Collaborators as

          [NewMarket] had obtained;

Together with:


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             (c)      An award of VetBridge’s reasonable attorneys’ fees and

                      expenses;

             (d)      The costs of this action; and

             (e)      Such further and additional relief as the Court deems just and equitable under

                      the circumstances.

                                          COUNT IV
                     (Temporary, Preliminary & Permanent Injunctive Relief)

       43.         For Count IV of its Petition, VetBridge restates and adopts by reference the

allegations set forth in ¶¶ 1 through 42, above, as though fully set forth herein.

       44.         As set forth in Count III, above, based upon NewMarket’s “change of control,”

VetBridge has a probability of success on the merits, pursuant to Paragraph 13(d)(ii) of the

Agreement, that it has the right to a judgment of specific performance granting VetBridge,

among other things:

             (a)      The exclusive right to make and commercialize [the

                      Omeprazole DSI] Products in the Field and in the Territory as

                      granted under the Agreement as well as the right to assume the

                      beneficial position of [NewMarket’s] relationship with any

                      Collaborator [including, but not limited to, Collaborators

                      Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of

                      India,] to make and commercialize the [Omeprazole DSI]

                      Product in the Field and in the Territory without further

                      consideration or compensation to [NewMarket’s] successor;

                      and

             (b)      A license from [NewMarket] (or its successor as applicable)

                      for all rights to the [Omeprazole DSI] Products, including

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                                                                                                    Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                  manufacturing, subject to no more than a maximum running

                  royalty rate of 7.00% of Net Sales (whereby, unless mutually

                  agreed otherwise, "Net Sales" shall correspond to gross

                  revenues received from the sale of [the Omeprazole DSI]

                  Products less sales and/or use taxes actually paid, import and/or

                  export duties actually paid, outbound transportation prepaid or

                  allowed, and amounts allowed or credited due to returns (not to

                  exceed the original billing or invoice amount), with such

                  maximum royalty rate contingent upon [VetBridge] securing

                  no less favorable terms with any [NewMarket] Collaborators as

                  [NewMarket] had obtained.

       45.    Given NewMarket’s prior assertions to VetBridge, among other things, (a) that it

purportedly assigned its right to manufacture its Omeprazole DSI Products to Aboris; and (b)

that it purportedly transferred its IP/Patent Rights related to the Omeprazole DSI Products to an

unnamed, overseas company for “tax purposes”; which, if done, were in material breach of the

Agreement and in direct violation of VetBridge’s exclusive distribution rights and license in and

to NewMarket’s Omeprazole DSI Products and IP/Patent Rights thereunder; as well as (c) that it

has purportedly retained a broker to sell the distribution rights to NewMarket’s Omeprazole DSI

Products on a global basis, including within the Field and Territory exclusively granted to

VetBridge under the Agreement, VetBridge has a reasonable apprehension that, if not

temporarily, preliminarily and permanently enjoined from directly or indirectly pledging,

encumbering, assigning, transferring, disposing of or otherwise conveying or granting any rights

or interests in or to NewMarket’s Omeprazole DSI Products and/or its IP/Patent Rights relating

thereto in the contractually agreed upon Field and Territory, NewMarket will take some action


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                                                                                                      Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
relating thereto which would render a judgment of specific performance in VetBridge’s favor, as

requested in Count III, ineffectual.

       46.     VetBridge’s apprehension in this regard is heightened by the fact that NewMarket

is currently involved in litigation with VetPharm, the CRO that performed all of the field clinical

studies and has possession of all of the data and results of those field clinical studies necessary

for NewMarket to pursue and obtain approval of its Omeprazole DSI Products for sale and

distribution from the FDA’s CVM, in the case styled NewMarket Pharmaceuticals, LLC v.

VetPharm, Inc., No. 3:17-CV-01852-MAS-TJB (the “VetPharm Litigation”), currently pending

in the U.S. District Court for the District of New Jersey. In the VetPharm Litigation, VetPharm,

among other things, claims it is owed more than $900,000 from NewMarket for the work it

performed with respect to such field clinical studies and has refused to release any of the data

and results relating thereto, without first receiving payment of the amounts its claims are due and

owing; and NewMarket has repeatedly stated its clear intention to enter into certain unspecified

“business arrangements” with third parties to obtain necessary funding to pursue its NADA

before the FDA’s CVM, and to thereafter pursue the manufacture and distribution of its

Omeprazole DSI Products once approval from the FDA’s CVM is obtained.

       47.     Since NewMarket has represented that it is a single drug, drug company, and has

no products other than its Omeprazole DSI Products and its IP/Patent Rights relating thereto,

VetBridge has a reasonable apprehension that such unspecified “business arrangements” would

necessarily include and directly or indirectly interfere with VetBridge’s exclusive distribution

rights and license in and to NewMarket’s Omeprazole DSI Products and IP/Patent Rights

thereunder.

       48.     Moreover, VetBridge recently learned that NewMarket has discontinued its

payroll, and that the person principally involved in handling the pursuit of NewMarket’s NADA


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                                                                                                         Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
with the FDA’s CVM, Dr. Dave Rock, its Vice-President of Research and Development, is no

longer employed by NewMarket; causing even greater concern that NewMarket does not have

the financial resources to remain in business, let alone pursue the required FDA approval that is

necessary for the manufacture and sale of the Omeprazole DSI Products, creating a substantial

risk that NewMarket will grant unknown third persons or entities rights that will interfere with

VetBridge’s exclusive distribution rights and license in and to NewMarket’s Omeprazole DSI

Products and IP/Patent Rights thereunder.

       49.         In the absence of a temporary, preliminary and permanent injunction as requested

herein, VetBridge will suffer immediate and irreparable harm in that, among other things,

             (a)      VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole

                      DSI Products and the IP/Patent Rights relating thereto are unique, such that

                      VetBridge does not have an adequate remedy at law, and

             (b)      Any judgment of specific performance, as requested in Count III, above,

                      would be rendered ineffectual if NewMarket, while this action is pending, was

                      to directly or indirectly pledge, encumber, assign, transfer, dispose of or

                      otherwise convey or grant any rights or interest in or to its Omeprazole DSI

                      Products and/or its IP/Patent Rights relating thereto to any person or entity in

                      direct violation of VetBridge’s exclusive rights and license in and to the same.

       50.         The harm VetBridge will suffer if NewMarket is not temporarily, preliminarily

and permanently enjoined and restrained from directly or indirectly pledging, encumbering,

assigning, transferring, disposing of or otherwise conveying or granting any rights or interests in

or to NewMarket’s Omeprazole DSI Products and/or its IP/Patent Rights relating thereto in the

Field and Territory, outweighs any potential harm to NewMarket in being required to comply

with the Agreement, which it knowingly and voluntarily entered into and for which it received


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                                                                                                        Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
$4,002,435 from VetBridge, in that VetBridge will lose not only the benefit of its bargain, but

the exclusive right to make and commercialize the Omeprazole DSI Products in Field and

Territory, as granted under the Agreement, as well as the right to assume the beneficial position

of [NewMarket’s] relationships with any Collaborators, including, but not limited to,

Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals of India, to make and

commercialize the [Omeprazole DSI] Product in the Field and Territory.

       51.         The public interest will be advanced requiring NewMarket to comply with the

terms of the Agreement.

       52.         Pursuant to Mo. R. Civ. P. 92.02(b), VetBridge states that its request for a

temporary restraining order should be heard ex parte because prior notice would defeat the

purpose of the requested temporary restraining order in that it would provide NewMarket with an

opportunity, prior to the issuance of a temporary restraining order, to directly or indirectly

pledge, encumber, assign, transfer, dispose of or otherwise convey or grant any rights or interest

in or to its Omeprazole DSI Products and/or its IP/Patent Rights relating thereto, thereby

defeating the very purpose of the requested relief.

       53.         Pursuant to the Agreement, VetBridge is entitled to recover its reasonable

attorneys’ fees and expenses incurred in enforcing the Agreement.

       54.         All conditions precedent to maintaining this action have occurred or been waived.

       WHEREFORE, Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

respectfully prays, in accordance with Mo. R. Civ. P. 92.02 and RSMo. §526.050, that judgment

be entered in its favor and against NewMarket Pharmaceuticals, LLC on Count IV of its Petition,

             (a)      Temporarily, preliminarily, and permanently enjoining and restraining

                      NewMarket Pharmaceutical, LLC, together with its officers, managers,

                      members, agents, affiliates, attorneys, and employees, and all other persons in


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                                                                                                       Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                   active concert or participation with them, from directly or indirectly pledging,

                   encumbering, assigning, transferring, disposing of or otherwise conveying or

                   granting any rights or interests in or to NewMarket’s Omeprazole DSI

                   Products and/or its IP/Patent Rights relating thereto in the Field and Territory,

       Together with:

           (b)     An award of VetBridge’s reasonable attorneys’ fees and expenses;

           (c)     The costs of this action; and

           (d)     Such further and additional relief as the Court deems just and equitable under

                   the circumstances.

                                        JURY DEMAND

       COME NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC,

by and through counsel, and respectfully demands a jury trial on every issue so triable.



Dated: August 28, 2018.                            Respectfully submitted by,

                                                   LATHROP & GAGE LLP

                                                   BY: Greer S. Lang
                                                   Greer S. Lang        MO #40107
                                                   Brian W. Fields      MO #45704
                                                   2345 Grand Boulevard, Suite 2200
                                                   Kansas City, Missouri 64108-2618
                                                   Phone: 816.292.2000
                                                   Fax: 816.292.2001
                                                   glang@lathropgage.com
                                                   bfields@lathropgage.com

                                                   Attorneys for Plaintiff




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                                                                                                   Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                           VERIFICATION

State of Missouri                )
                                 )       ss
County of Jackson                )


        I, Kevin Speltz, having first been duly sworn on my oath, depose and state that I am the

Manager ofVetBridge Product Development Subsidiary I (NM-OMP), LLC (" YetBridge"); that

I am the duly authorized representative of VetBridge to verify the above Verified Petition for

Damages, Specific Performance and Injunctive Relief; that I have personal knowledge of the

factual matters alleged herein; and that the same are true and correct to the best of my

information, knowledge and belief.

        Dated: August .:7(), 2018




        Subscribed and sworn to before me, a notary public, on August     ztJ, 20168
                                                              JLr~IJQru.l'(l
                                                          Notary Public

My Commission Expires On:

        MINDY D. DEMING. NOTARY PUBLIC NOTARY SEAL
        AN BREW COUNTY. SIAI EUF MISSOURI
        MY COMMISSION# 14025608 EXPIRES 10/8/ 2018




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        '·




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                                                                                                        Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                          18BU-CV03640

          IN THE CIRCUIT COURT OF __      x BUCHANAN __ ANDREW COUNTY
                                  DIVISION NO. __
           VetBridge Product Development Subsidiary I
           (NM-OMP, LLC, Kevin Speltz, Manager
                                                          )
                     Plaintiff/Petitioner,                )
                                                          )
                           v.                             )      Case No.
            New Market Pharmaceuticals, LLC               )
            Mark Ridall, Manager                          )
                    Defendant/Respondent.                 )

                            Track Information Statement
                                  (Form 4.2.1.2)


Description                                       of                                 Action:
___________________________________________
 breach of an Exclusive Distribution and License Agreement, specific performance and for a temporary,
__________________________________________________________________
_preliminary and permanent injunction
(If there are multiple counts, use the principle                                  count     to
determine to which track the case should be assigned.)


       Pursuant to Local Rule 4.2.1.2, I the undersigned verify that

the above captioned matter to be filed is a civil action which

falls within the category of civil actions which, pursuant to
                                             x standard
Local Rule 4.2.1, are to be assigned to the __                                              __

complex track.


        /s/ Greer S. Lang
       ___________________________
                                                          Attorney for Plaintiff

                                                          Date Signed: August 28, 2018




                                                                                Form A - 1



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                                                                                                         Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
  IN THE CIRCUIT COURT OF __       x BUCHANAN __ ANDREW COUNTY, MISSOURI  18BU-CV03640
                                 DIVISION NO. __
VetBridge Product Development Subsidiary I
(NM-OMP, LLC, Kevin Speltz, Manager
_________________________________,                )
          Plaintiff/Petitioner,                   )
                                                  )
                    v.                            )       Case                            No.
________________
New Market Pharmaceuticals, LLC
Mark Ridall, Manager                              )
_________________________________,                )
              Defendant/Respondent.               )


                            Case Information Statement
                                  (Rule 4.2.1.3)

Name and Status of Person Filing Action: ________________________
                                                           VetBridge Product Development
_________________________________________________________________.
Subsidiary I (NM-OMP), LLC , a Missouri limited liability company

Description of Action: action     __________________________________________
                                        for breach of an Exclusive Distribution and License Agreement,
specific performance and for a temporary, preliminary and permanent injunction
_________________________________________________________________.

Jury Trial Demanded:           __
                                x Yes     __ No

Estimated Trial Time:           7____________
                                  days
Is this action related to any other action presently pending in
any Court? __ Yes __ x No If yes, please state: 1. court in
which action is pending: ________________________________________;
and, 2. caption and case number of action: _______________________
______________________________.

     Pursuant to Rule 4.2.1.3, I, the undersigned, request that
this case, which is presently set on the __ expedited __ standard
__ complex track, be placed on the __ expedited __ standard __
complex track because: ___________________________________________
__________________________________________________________________
__________________________________________________________________
_________________________________________________________________.

       _______________________________
        /s/ Greer S. Lang
                                                                        Signature

******************************************************************

For Court Use Only:

       Case Track Assigned:           __ Expedited        __ Standard       __ Complex

       Trial Date:       __________       or    Status Hearing Date:           __________

THE   INFORMATION  CONTAINED IN THIS FORM IS PROVIDED FOR
ADMINISTRATIVE PURPOSES ONLY AND CANNOT BE USED AS EVIDENCE ON A
SUBSTANTIVE ISSUE.




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                                                                  of 73 B - 1
                                                                                               Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                        18BU-CV03640

           IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                               DIVISION ___

VetBridge Product Development Subsidiary I   )
(NM-OMP), LLC,                               )
                                             )
              Plaintiff,                     )     Case No.
                                             )
vs.                                          )
                                             )
NewMarket Pharmaceuticals, LLC,              )
                                             )
              Defendant.
                                             )

                    MOTION FOR APPROVAL AND APPOINTMENT
                         OF PRIVATE PROCESS SERVER

       COMES NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC,

by and through counsel, and hereby moves for the approval and appointment of HPS Process

Service Investigators, Inc. and/or its Agents as private process server pursuant to Missouri

Supreme Court Rule 54.03 to serve the Verified Petition for Damages, Specific Performance &

Injunctive Relief and Summons on Defendant NewMarket Pharmaceuticals, LLC , in the above

captioned matter.



Dated: August 28, 2018.                   Respectfully submitted by,

                                          LATHROP & GAGE LLP

                                          BY: Greer S. Lang
                                          Greer S. Lang        MO #40107
                                          Brian W. Fields      MO #45704
                                          2345 Grand Boulevard, Suite 2200
                                          Kansas City, Missouri 64108-2618
                                          Phone: 816.292.2000
                                          Fax: 816.292.2001
                                          glang@lathropgage.com
                                          bfields@lathropgage.com

                                          Attorneys for Plaintiff




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                                                                                         Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                         18BU-CV03640

         IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                             DIVISION ___

VetBridge Product Development Subsidiary I      )
(NM-OMP), LLC,                                  )
                                                )
               Plaintiff,                       )     Case No.
                                                )
vs.                                             )
                                                )
NewMarket Pharmaceuticals, LLC,                 )
                                                )
               Defendant.
                                                )
                                                )
                                                )

               ORDER APPOINTING PRIVATE PROCESS SERVER

        It is hereby ordered that Plaintiff’s Motion for Approval and Appointment of a

private process server is GRANTED. Accordingly, HPS Process Service Investigators,

Inc. and its Agents are hereby approved and appointed to serve process in the above

captioned matter.



Date:_______________                 _________________________________________
                                           JUDGE




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                                                                                                    Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                            18BU-CV03640

            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. )


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
                                                  )
               Plaintiff,                         )    Case No.
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
                                                  )
               Defendant.
                                                  )


            EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

       Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”),

by and through counsel, and pursuant to Missouri Rule of Civil Procedure 92.02(b), moves the

Court for a temporary restraining order, without notice, to enjoin and restrain Defendant

NewMarket Pharmaceuticals, LLC (“Defendant” or NewMarket”), in breach of VetBridge’s

exclusive distribution rights and license granted under the the parties’ June 27, 2014 Exclusive

Distribution and License Agreement (“Agreement”), attached as Exhibit A to VetBridge’s

Verified Petition for Damages, Specific Performance & Injunctive Relief (“Verified Petition”),

from directly or indirectly pledging, encumbering, assigning, transferring, disposing of or

otherwise conveying or granting any rights or interests in or to:

       1.      NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving

               formulations of omeprazole (used for both the treatment and prevention of ulcers),

               including omeprazole direct systemic introduction (DSI) compositions for use in

               all non-human animals including especially equine animals, and (b) any revisions,

               alterations, or improvements to such products (collectively, the “Omeprazole DSI

               Products), and/or



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                                                                                                Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
2.   NewMarket’s IP/Patent Rights relating thereto, including all patents and patent

     applications,   and    all   divisionals,   continuations,       continuations-in-part,

     counterparts,   re-examinations,     reissues,     extensions,    registrations,     and

     supplementary or complementary certificates and the like, both domestic and

     foreign, and items which claim the benefit of priority to any of the foregoing,

     whether in whole or in part, directly or indirectly owned, licensed, and/or

     optioned (with the right to grant sub-licenses) by NewMarket or an affiliate

     thereof, as of the Effective Date of the Agreement (June 27, 2014) or during the

     term of said Agreement, which relate to the Omeprazole DSI Products, and their

     development, manufacture, or use, including, but not limited to, the following:

        Item    Country Patent Application       Filing Date         Title
                            or Patent No.
          1     US      61/437763             01/31/2011
          2     US      13/343,692; issued as 01/04/2012;     Animal treatments
                        8,722,636             issued
                                              05/13/2014
                                              05/12/2014;    Animal Treatments
                        14/275,019; issued as
          3     US                            issued
                        10,022,361
                                              07/18/2018
                                              05/12/2014;    Animal Treatment
                        14/275,031; issued as
          4     US                            issued
                        9,402,835             08/02/2016
          5     WO         PCT/US2012/020242          01/04/2012      Animal Treatment
          6     US         61/674,435                 07/23/2012
          7     US         61/678,355                 01/08/2012
          8     US         61/641,509                 02.05.2012
          9     WO         PCT/US2012/070031          12/17/2012       Pharmaceutical
                                                                       compositions for
                                                                       direct systemic
                                                                       introduction
         10    US          14/398,085             10/30/2014
         11    US          16/014,290             06/21/2018


     (collectively, the “IP/Patent Rights”),




                             2
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                                                                                                              Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
in the Field (consisting of the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals) and Territory (consisting of the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia).

        In support of this Motion, VetBridge incorporates by reference its Verified Petition,

which is being filed concurrently herewith, as though fully set forth herein.

        WHEREFORE, for the reasons set forth in its Verified Petition, Plaintiff VetBridge

Product Development Subsidiary I (NM-OMP), LLC respectfully requests that the Court grant

this Motion and enter a Temporary Restraining Order, temporarily enjoining and restraining

Defendant VetBridge Pharmaceuticals, LLC, as set forth in the proposed Temporary Restraining

Order being submitted herewith.



Dated: August 28, 2018.                               Respectfully submitted by,

                                                      LATHROP & GAGE LLP

                                                      BY: Greer S. Lang
                                                      Greer S. Lang        MO #40107
                                                      Brian W. Fields      MO #45704
                                                      2345 Grand Boulevard, Suite 2200
                                                      Kansas City, Missouri 64108-2618
                                                      Phone: 816.292.2000
                                                      Fax: 816.292.2001
                                                      glang@lathropgage.com
                                                      bfields@lathropgage.com

                                                      Attorneys for Plaintiff




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                                                                                         Electronically Filed - Buchanan - August 29, 2018 - 08:54 AM
                                                                         18BU-CV03640

         IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                                        1
                             DIVISION ___

VetBridge Product Development Subsidiary I      )
(NM-OMP), LLC,                                  )
                                                )
               Plaintiff,                       )     Case No.    18BU-CV03640
                                                )
vs.                                             )
                                                )
NewMarket Pharmaceuticals, LLC,                 )
                                                )
               Defendant.
                                                )
                                                )
                                                )

               ORDER APPOINTING PRIVATE PROCESS SERVER

        It is hereby ordered that Plaintiff’s Motion for Approval and Appointment of a

private process server is GRANTED. Accordingly, HPS Process Service Investigators,

Inc. and its Agents are hereby approved and appointed to serve process in the above

captioned matter.



Date:_______________
      Wednesday, August 29, 2018     _________________________________________
                                            /s/K. DOBOSZ, Deputy Clerk
                                           JUDGE
                                           XXXXXXX




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              IN THE 5TH JUDICIAL CIRCUIT, BUCHANAN COUNTY, MISSOURI

 Judge or Division:                                          Case Number: 18BU-CV03640
 MELISSA M LAWYER
 Plaintiff/Petitioner:                                       Plaintiff’s/Petitioner’s Attorney/Address:
 VETBRIDGE PRODUCT DEVELOPMENT                               GREER SHIRREFFS LANG
 SUBSIDIARY I (NM-OMP), LLC                                  2345 GRAND BLVD
                                                             SUITE 2400
                                                       vs.   KANSAS CITY, MO 64108
 Defendant/Respondent:                                       Court Address:
 NEWMARKET PHARMACEUTICALS, LLC                              BUCHANAN CO COURTHOUSE
 Nature of Suit:                                             411 JULES ST
 CC Specific Performance                                     SAINT JOSEPH, MO 64501
                                                             STATUS REVIEW HEARING DATE:11-27-18
                                                             @ 8:30AM, DIV 1                                       (Date File Stamp)
                           Summons for Personal Service Outside the State of Missouri
                                                        (Except Attachment Action)
  The State of Missouri to:    NEWMARKET PHARMACEUTICALS, LLC
                               Alias:
  4 PITCAIRN AVENUE
  SUITE 4
  TRENTON, NJ 08628
     COURT SEAL OF             You are summoned to appear before this court and to file your pleading to the petition, copy of
                               which is attached, and to serve a copy of your pleading upon the attorney for the
                               plaintiff/petitioner at the above address all within 30 days after service of this summons upon
                               you, exclusive of the day of service. If you fail to file your pleading, judgment by default will be
                               taken against you for the relief demanded in this action.
                               ___________________________________
                                   Wednesday, August 29, 2018                  _______________________________________________
                                                                                        /s/K. DOBOSZ, Deputy Clerk
   BUCHANAN COUNTY                                  Date                                            Clerk
                               Further Information:
                                                Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is __________________________________ of ______________________ County, ________________ (state).
     3. I have served the above summons by: (check one)
                delivering a copy of the summons and a copy of the petition to the defendant/respondent.
                leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the
                defendant/respondent with _________________________________, a person of the defendant’s/respondent’s family
                over the age of 15 years who permanently resides with the defendant/respondent.
                (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                __________________________________________ (name) ___________________________________________ (title).
                 other: ___________________________________________________________________________________________.
     Served at ______________________________________________________________________________________ (address)
     in _____________________________County, _______________ (state), on _______________ (date) at ____________ (time).

     _________________________________________________                       ______________________________________________________
                   Printed Name of Sheriff or Server                                         Signature of Sheriff or Server
                              Subscribed and sworn to before me this ___________ (day) ______________ (month) _________ (year).
                                I am: (check one)   the clerk of the court of which affiant is an officer.
                                                    the judge of the court of which affiant is an officer.
                                                    authorized to administer oaths in the state in which the affiant served the above
          (Seal)
                                                     summons. (use for out-of-state officer)
                                                     authorized to administer oaths. (use for court-appointed server)
                                                                         __________________________________________________________
                                                                                             Signature and Title
    Service Fees
    Summons        $___________________
    Non Est        $___________________
    Mileage        $___________________ (_______________miles @ $ _______ per mile)
    Total          $___________________
OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-53          1 of 2 (18BU-CV03640)        Rules 54.06, 54.07, 54.14, 54.20;
                    Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 31 of 73
                                                                                   506.500, 506.510 RSMo
                           See the following page for directions to officer making return on service of summons.




                            Directions to Officer Making Return on Service of Summons

     A copy of the summons and a copy of the motion must be served on each defendant/respondent. If any
     defendant/respondent refuses to receive the copy of the summons and motion when offered, the return shall be
     prepared accordingly so as to show the offer of the officer to deliver the summons and motion and the
     defendant’s/respondent’s refusal to receive the same.

     Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a
     legally appointed guardian, by delivering a copy of the summons and motion to the individual personally or by
     leaving a copy of the summons and motion at the individual’s dwelling house or usual place of abode with some
     person of the family over 15 years of age who permanently resides with the defendant/respondent, or by delivering
     a copy of the summons and petition to an agent authorized by appointment or required by law to receive service of
     process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering
     a copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other
     Unincorporated Association. On a corporation, partnership or unincorporated association, by delivering a copy of
     the summons and motion to an officer, partner, or managing or general agent, or by leaving the copies at any
     business office of the defendant/respondent with the person having charge thereof or by delivering copies to its
     registered agent or to any other agent authorized by appointment or required by law to receive service of process;
     (4) On Public or Quasi-Public Corporation or Body. Upon a public, municipal, governmental or quasi-public
     corporation or body in the case of a county, to the mayor or city clerk or city attorney in the case of a city, to the
     chief executive officer in the case of any public, municipal, governmental, or quasi-public corporation or body or to
     any person otherwise lawfully so designated.

     Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or
     territory where such service is made.

     Service may be made in any state or territory of the United States. If served in a territory, substitute the word
     “territory” for the word “state.”

     The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which
     the person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and
     manner of service, the official character of the affiant, and the affiant’s authority to serve process in civil actions
     within the state or territory where service is made.

     Service must be made less than 10 days nor more than 30 days from the date the defendant/respondent is to
     appear in court. The return should be made promptly, and in any event so that it will reach the Missouri court within
     30 days after service.




OSCA (07-18) SM60 (SMOS) For Court Use Only: Document ID# 18-SMOS-53           2 of 2 (18BU-CV03640)           Rules 54.06, 54.07, 54.14, 54.20;
                   Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 32 of 73
                                                                                  506.500, 506.510 RSMo
Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 33 of 73
                                                                                           Electronically Filed - Buchanan - August 30, 2018 - 09:50 AM
         IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              DIVISION 1

VetBridge Product Development Subsidiary I     )
(NM-OMP), LLC,                                 )
                                               )
              Plaintiff,                       )     Case No. 18BU-CV03640
                                               )
vs.                                            )
                                               )
NewMarket Pharmaceuticals, LLC,                )
                                               )
              Defendant.
                                               )


                               NOTICE OF HEARING

        PLEASE TAKE NOTICE that Plaintiff VetBridge Product Development

Subsidiary I (NM-OMP), LLC’s (“Plaintiff”) Ex Parte Motion For Temporary

Restraining Order will be heard on September 5, 2018 at 9:00 a.m., or as soon thereafter

as counsel may be heard, by the Honorable Melissa M. Lawyer, in Division 1, Room 302

Circuit Court of Buchanan County, Missouri, 411 Jules St., St. Joseph, Missouri 64501.



Dated: August 30, 2018.                     Respectfully submitted by,

                                            LATHROP & GAGE LLP

                                            BY: /s/ Greer S. Lang
                                            Greer S. Lang        MO #40107
                                            Brian W. Fields      MO #45704
                                            2345 Grand Boulevard, Suite 2200
                                            Kansas City, Missouri 64108-2618
                                            Phone: 816.292.2000
                                            Fax: 816.292.2001
                                            glang@lathropgage.com
                                            bfields@lathropgage.com

                                            Attorneys for Plaintiff




      Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 34 of 73
                                                                                                    Electronically Filed - Buchanan - August 30, 2018 - 12:22 PM
             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                               (DIVISION NO. 1)


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
                                                  )
               Plaintiff,                         )    Case No. 18BU-CV03640
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
                                                  )
               Defendant.
                                                  )


      CORRECTED EX PARTE MOTION FOR TEMPORARY RESTRAINING ORDER

        Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC (“VetBridge”),

by and through counsel, and pursuant to Missouri Rule of Civil Procedure 92.02(b), moves the

Court for a temporary restraining order, without notice, to enjoin and restrain Defendant

NewMarket Pharmaceuticals, LLC (“Defendant” or NewMarket”), in breach of VetBridge’s

exclusive distribution rights and license granted under the parties’ June 27, 2014 Exclusive

Distribution and License Agreement (“Agreement”), attached as Exhibit A to VetBridge’s

Verified Petition for Damages, Specific Performance & Injunctive Relief (“Verified Petition”),

from directly or indirectly pledging, encumbering, assigning, transferring, disposing of or

otherwise conveying or granting any rights or interests in or to:

        1.     NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving

               formulations of omeprazole (used for both the treatment and prevention of ulcers),

               including omeprazole direct systemic introduction (DSI) compositions for use in

               all non-human animals including especially equine animals, and (b) any revisions,

               alterations, or improvements to such products (collectively, the “Omeprazole DSI

               Products), and/or



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                                                                                                Electronically Filed - Buchanan - August 30, 2018 - 12:22 PM
2.   NewMarket’s IP/Patent Rights relating thereto, including all patents and patent

     applications,   and    all   divisionals,   continuations,       continuations-in-part,

     counterparts,   re-examinations,     reissues,     extensions,    registrations,     and

     supplementary or complementary certificates and the like, both domestic and

     foreign, and items which claim the benefit of priority to any of the foregoing,

     whether in whole or in part, directly or indirectly owned, licensed, and/or

     optioned (with the right to grant sub-licenses) by NewMarket or an affiliate

     thereof, as of the Effective Date of the Agreement (June 27, 2014) or during the

     term of said Agreement, which relate to the Omeprazole DSI Products, and their

     development, manufacture, or use, including, but not limited to, the following:

        Item    Country Patent Application       Filing Date         Title
                            or Patent No.
          1     US      61/437763             01/31/2011
          2     US      13/343,692; issued as 01/04/2012;     Animal treatments
                        8,722,636             issued
                                              05/13/2014

          3     US      14/275,019; issued as 05/12/2014;    Animal Treatments
                        10,022,361            issued
                                              07/18/2018
                                              05/12/2014;    Animal Treatment
          4     US      14/275,031; issued as issued
                        9,402,835             08/02/2016
          5     WO         PCT/US2012/020242          01/04/2012      Animal Treatment
          6     US         61/674,435                 07/23/2012
          7     US         61/678,355                 01/08/2012
          8     US         61/641,509                 02.05.2012
          9     WO         PCT/US2012/070031          12/17/2012       Pharmaceutical
                                                                       compositions for
                                                                       direct systemic
                                                                       introduction
         10    US          14/398,085             10/30/2014
         11    US          16/014,290             06/21/2018


     (collectively, the “IP/Patent Rights”),




                             2
Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 36 of 73
                                                                                                              Electronically Filed - Buchanan - August 30, 2018 - 12:22 PM
in the Field (consisting of the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals) and Territory (consisting of the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia).

        In support of this Motion, VetBridge incorporates by reference its Verified Petition,

which is being filed concurrently herewith, as though fully set forth herein.

        WHEREFORE, for the reasons set forth in its Verified Petition, Plaintiff VetBridge

Product Development Subsidiary I (NM-OMP), LLC respectfully requests that the Court grant

this Motion and enter a Temporary Restraining Order, temporarily enjoining and restraining

Defendant NewMarket Pharmaceuticals, LLC, as set forth in the proposed Temporary

Restraining Order being submitted herewith.



Dated: August 30, 2018.                               Respectfully submitted by,

                                                      LATHROP & GAGE LLP

                                                      BY: /s/ Greer S. Lang
                                                      Greer S. Lang        MO #40107
                                                      Brian W. Fields      MO #45704
                                                      2345 Grand Boulevard, Suite 2200
                                                      Kansas City, Missouri 64108-2618
                                                      Phone: 816.292.2000
                                                      Fax: 816.292.2001
                                                      glang@lathropgage.com
                                                      bfields@lathropgage.com

                                                      Attorneys for Plaintiff




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Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 42 of 73
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Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 44 of 73
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             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                                (DIVISION NO. 1)


 VetBridge Product Development Subsidiary I   )
 (NM-OMP), LLC,                               )
                                              )
               Plaintiff,                     )   Case No. 18BU-CV03640
                                              )
 vs.                                          )
                                              )
 NewMarket Pharmaceuticals, LLC,              )

                                              )
Defendant.




       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 46 of 73
           CASH BOND TO SECURE TEMPORARY RESTRAINING ORDER

       Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC ("Plaintiff' or

"VetBridge"), is held and firmly bound unto Defendant NewMarket Pharmaceuticals, LLC

("Defendant" or "NewMarket") in the sum of $1,000.00 lawful money of the United States,

to the payment of which, well and true to be made, VetBridge binds itself, it successors and

assigns firmly by these presents.      The condition to the above obligation is such that

VetBridge has applied for temporary restraining order and preliminary injunction against the

above-described obliges.

       Now, therefore, ifVetBridge shall and will abide by the decision which shall be made

in the causes wherein said Temporary Restraining Order was granted and shall pay all

sums of money, damages or costs, that shall be judged against it if the Court shall fmally

determine that the Temporary Restraining Order should not have been granted, then this

obligation shall be void, otherwise to be and remain in full force and effect until further order

of the Court.

Dated: September 4, 2018                      VetBridge Product Development
                                              Subsidiary I (NM-OMP), LL,




Approved on September 6, 2018




Melissa Lawyer, Circuit Judge
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                                                                   Electronically Filed - Buchanan - September 13, 2018 - 02:42 PM




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                                                                   Electronically Filed - Buchanan - September 13, 2018 - 02:42 PM




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                                                                                          Electronically Filed - Buchanan - September 07, 2018 - 07:19 PM
         IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              DIVISION 1

VetBridge Product Development Subsidiary I     )
(NM-OMP), LLC,                                 )
                                               )
              Plaintiff,                       )    Case No. 18BU-CV03640
                                               )
vs.                                            )
                                               )
NewMarket Pharmaceuticals, LLC,                )
                                               )
              Defendant.
                                               )


                              NOTICE OF HEARING

        PLEASE TAKE NOTICE that Plaintiff VetBridge Product Development

Subsidiary I (NM-OMP), LLC’s (“Plaintiff”) Motion For A Preliminary Injunction, as set

forth in the Verified Petition for Damages, Specific Performance and Injunctive Relief,

will be heard on September 14, 2018 at 9:30 a.m., or as soon thereafter as counsel may

be heard, by the Honorable Melissa M. Lawyer, in Division 1, Room 302 Circuit Court of

Buchanan County, Missouri, 411 Jules St., St. Joseph, Missouri 64501.

Dated: September 7, 2018.                  Respectfully submitted by,

                                           LATHROP & GAGE LLP

                                           BY:     /s/ Greer S. Lang

                                           Greer S. Lang        MO #40107
                                           Brian W. Fields      MO #45704
                                           2345 Grand Boulevard, Suite 2200
                                           Kansas City, Missouri 64108-2618
                                           Phone: 816.292.2000
                                           Fax: 816.292.2001
                                           glang@lathropgage.com
                                           bfields@lathropgage.com

                                           Attorneys for Plaintiff




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                                                                                              Electronically Filed - Buchanan - September 07, 2018 - 07:19 PM
                            CERTIFICATE OF SERVICE

       I hereby certify that on September 7, 2018, I served a true and correct copy of the
above and foregoing, by email, addressed to:

NewMarket Pharmaceuticals, LLC
C/o Mark Ridall, President
2 Woodlawn Lane,
Pennington, NJ 08534
m.ridall@aborisah.com
m.ridall@newmarketpharma.com


       I further certify that on September 6, 2018, I served a true and correct copy of the
Temporary Restraining Order entered by the Court on September 5, 2018, by email and
by Federal Express overnight delivery, postage prepaid, addressed to:

NewMarket Pharmaceuticals, LLC
C/o Mark Ridall, President
2 Woodlawn Lane,
Pennington, NJ 08534
m.ridall@aborisah.com
m.ridall@newmarketpharma.com


       And by having a true and correct copy of the Temporary Restraining Order
entered by the Court on September 5, 2018, together with the Summons, Verified Petition
for Damages, Specific Performance and Injunctive Relief and Plaintiff’s Ex Parte Motion
for a Temporary Restraining Order served by a special process server upon the Delaware
Secretary of State on September 6, 2018.

                                                   /s/ Greer S. Lang
                                             An Attorney for Plaintiffs




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                                                                   Electronically Filed - Buchanan - September 10, 2018 - 03:09 PM




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                                                                   Electronically Filed - Buchanan - September 10, 2018 - 03:09 PM




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                                                                   Electronically Filed - Buchanan - September 10, 2018 - 03:09 PM




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                                                                                                       Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. 1)


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
                                                  )
               Plaintiff,                         )    Case No. 18BU-CV03640
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
                                                  )
               Defendant.
                                                  )


                    AMENDED TEMPORARY RESTRAINING ORDER

       Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC’s (“VetBridge”)

filed its Verified Petition for Damages, Specific Performance & Injunctive Relief and Exhibit A

thereto (the “Verified Petition”) against Defendant NewMarket Pharmaceuticals, LLC

(“Defendant” or “NewMarket”) on August 29, 2018. The Court issued an ex parte Temporary

Restraining Order on September 5, 2018. The matter comes before the Court on September 14,

2018 for a hearing on Plaintiff’s Motion for a Preliminary Injunction against Defendant.

       Plaintiff appeared through its counsel, Greer S. Lang and Thomas Stahl, and in person

through its manager, Kevin Speltz. Defendant appeared through counsel, Aimee Davenport and

Robert M. Pollaro. There are no other appearances.

       The parties, through counsel, stipulated to continue the hearing on Plaintiff’s Motion for

Preliminary Injunction to November 5, 2018 at 9:30 a.m., and agreed that the Temporary

Restraining Order previously entered in this matter shall remain in effect until that date. Prior to

       Based upon the parties’ stipulation and agreement, and being fully advised in the

premises, the Court reaffirms and adopts the Court’s findings and conclusions, as set forth in the

Court’s September 5, 2018 Temporary Restraining Order, and as restated below:



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                                                                                                      Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
       1.      Based upon the statements of counsel and the sworn statement of Kevin Speltz,

VetBridge’s managing member, in the Verified Petition, pursuant to Mo. R. Civ. P. 92.02(b)(2),

the Court finds that a temporary restraining order may properly be issued without notice to

NewMarket. Specifically, the Court finds that there is a significant risk that providing notice of

this proceeding under Mo. R. Civ. P. 92.02(a)(3) would provide NewMarket with an opportunity,

prior to the issuance of a temporary restraining order, to directly or indirectly pledge, encumber,

assign, transfer, dispose of or otherwise convey or grant rights or interests in or to its

Omeprazole DSI Products and/or the IP/Patent Rights relating thereto, as defined below, thereby

defeating the very purpose of the requested relief.

       2.      VetBridge has petitioned this Court for a temporary restraining order to enjoin

and restrain Defendant NewMarket from directly or indirectly pledging, encumbering, assigning,

transferring, disposing of or otherwise conveying or granting any rights or interests in or to:

       (a)     NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving
               formulations of omeprazole (used for both the treatment and prevention of ulcers),
               including omeprazole direct systemic introduction (DSI) compositions for use in
               all non-human animals including especially equine animals, and (b) any revisions,
               alterations, or improvements to such products (collectively, the “Omeprazole DSI
               Products), and/or

       (b)     NewMarket’s IP/Patent Rights relating thereto, including all patents and patent
               applications, and all divisionals, continuations, continuations-in-part,
               counterparts, re-examinations, reissues, extensions, registrations, and
               supplementary or complementary certificates and the like, both domestic and
               foreign, and items which claim the benefit of priority to any of the foregoing,
               whether in whole or in part, directly or indirectly owned, licensed, and/or
               optioned (with the right to grant sub-licenses) by NewMarket or an affiliate
               thereof, as of the Effective Date (June 27, 2014) of the Exclusive Distribution and
               License Agreement or during the term of said agreement, which relate to the
               Omeprazole DSI Products, and their development, manufacture, or use in the
               Field and in the Territory, as defined below, including, but not limited to, the
               following:




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                                                                                                             Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
                   Item     Country Patent Application       Filing Date         Title
                                        or Patent No.
                     1      US      61/437763             01/31/2011
                     2      US      13/343,692; issued as 01/04/2012;     Animal treatments
                                    8,722,636             issued
                                                          05/13/2014
                                                          05/12/2014;    Animal Treatments
                     3      US      14/275,019; issued as issued
                                    10,022,361            07/18/2018
                                                          05/12/2014;    Animal Treatment
                     4      US      14/275,031; issued as issued
                                    9,402,835             08/02/2016
                     5      WO         PCT/US2012/020242         01/04/2012        Animal Treatment
                     6      US         61/674,435                07/23/2012
                     7      US         61/678,355                01/08/2012
                     8      US         61/641,509                02.05.2012
                     9      WO         PCT/US2012/070031         12/17/2012        Pharmaceutical
                                                                                   compositions for
                                                                                   direct systemic
                                                                                   introduction
                     10    US         14/398,085                10/30/2014
                     11    US         16/014,290                06/21/2018


                (collectively, the “IP/Patent Rights”),

in the Field (defined as “the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals”) and Territory (defined as “the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia”).

        3.      VetBridge has submitted persuasive evidence, through its Verified Petition and

Ex Parte Motion for a Temporary Restraining Order, and the Court finds, that:

        (a)     The June 27, 2014 Exclusive Distribution and License Agreement (the
                “Agreement,” Exhibit A to the Verified Petition) is a valid and enforceable
                agreement.

        (b)     Pursuant to the Agreement, for and in consideration of VetBridge’s payment of
                $4,000,000 to NewMarket, which sums were to be used “solely for direct
                expenses related to the development of the [Omeprazole DSI] Products,”
                NewMarket:




                                     3
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                                                                                               Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
      (1)    Appointed VetBridge as its “sole and exclusive authorized wholesale
             distributor and reseller to advertise, promote, market, distribute, supply
             and sell (“Distribute” or “Distribution”)” NewMarket’s Omeprazole DSI
             Products in the Field and Territory; and

      (2)    Granted VetBridge, “in connection with the Distribution of the
             [Omeprazole DSI] Products in the Territory, an exclusive, transferable,
             perpetual and royalty-free right and license to use, sell, offer for sale,
             import, and Distribute, with the right to sub-license, the IP/Patent Rights
             in the Field and Territory.

(c)   VetBridge made timely payment to NewMarket of the $4,000,000 due under the
      Agreement.

(d)   The Agreement expressly prohibits NewMarket from assigning, subcontracting,
      delegating or otherwise transferring any of its rights or obligations under the
      Agreement, or from contracting with any third parties to perform any of its
      obligations under the Agreement, without VetBridge’s prior written consent.

(e)   Further, given NewMarket’s grant to VetBridge of “an exclusive, transferable,
      perpetual and royalty-free right and license to use, sell, offer for sale, import, and
      Distribute, with the right to sub-license” NewMarket’s IP/Patent Rights within the
      agreed upon Field and Territory, NewMarket is prohibited from assigning or
      granting to any other person or entity a license for its IP/Patent Rights in the Field
      and Territory.

(f)   Additionally, the Agreement, at Paragraph 12(f), expressly prohibits NewMarket
      from granting any security interests or permitting any liens against its IP/Patent
      Rights, without VetBridge’s prior consent.

(g)   A “change of control,” as defined in Paragraph 13(d)(v) of the Agreement, has
      occurred.

(h)   In the event of a “change of control,” pursuant to Paragraph 13(d)(ii) of the
      Agreement, VetBridge is entitled to:

      (1)    The exclusive right to make and commercialize [the Omeprazole DSI]
             Products in the Field and in the Territory as granted under the Agreement
             as well as the right to assume the beneficial position of [NewMarket’s]
             relationship with any Collaborator [including, but not limited to,
             Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals
             of India,] to make and commercialize the [Omeprazole DSI] Product in the
             Field and in the Territory without further consideration or compensation to
             [NewMarket’s] successor; and
      (2)    A license from [NewMarket] (or its successor as applicable) for all rights
             to the [Omeprazole DSI] Products, including manufacturing, subject to no
             more than a maximum running royalty rate of 7.00% of Net Sales


                             4
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                                                                                                      Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
                      (whereby, unless mutually agreed otherwise, "Net Sales" shall correspond
                      to gross revenues received from the sale of [the Omeprazole DSI]
                      Products less sales and/or use taxes actually paid, import and/or export
                      duties actually paid, outbound transportation prepaid or allowed, and
                      amounts allowed or credited due to returns (not to exceed the original
                      billing or invoice amount), with such maximum royalty rate contingent
                      upon [VetBridge] securing no less favorable terms with any [NewMarket]
                      Collaborators as [NewMarket] had obtained.
         (i)   VetBridge has requested specific performance of the Agreement, and specifically,
               enforcement of its rights under Paragraph 13(d)(ii), in Count III of its Verified
               Petition.

         (j)   In the absence of the requested temporary restraining order, VetBridge will suffer
               immediate and irreparable harm, in that, among other things:

               (1)    VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole
                      DSI Products and the IP/Patent Rights relating thereto are unique, and
                      VetBridge is without an adequate remedy at law; and

               (2)    Any judgment of specific performance, as requested in Count III of the
                      Verified Petition, would be rendered ineffectual, if NewMarket were to
                      directly or indirectly pledge, encumber, assign, transfer, dispose of or
                      otherwise convey or grant any rights or interest in or to its Omeprazole
                      DSI Products and/or its IP/Patent Rights relating thereto to any person or
                      entity, in direct violation of VetBridge’s exclusive rights and license in
                      and to the same.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant

NewMarket Pharmaceuticals, LLC, together with its officers, managers, members, agents,

affiliates, attorneys, and employees, and all other persons in active concert or participation with

them, are hereby enjoined and restrained from directly or indirectly pledging, encumbering,

assigning, transferring, disposing of or otherwise conveying or granting any rights or interests in

or to:

         1.    NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving
               formulations of omeprazole (used for both the treatment and prevention of ulcers),
               including omeprazole direct systemic introduction (DSI) compositions for use in
               all non-human animals including especially equine animals, and (b) any revisions,
               alterations, or improvements to such products (collectively, the “Omeprazole DSI
               Products), and/or




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         Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 59 of 73
                                                                                                             Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
        2.      NewMarket’s IP/Patent Rights relating thereto, including all patents and patent
                applications, and all divisionals, continuations, continuations-in-part,
                counterparts, re-examinations, reissues, extensions, registrations, and
                supplementary or complementary certificates and the like, both domestic and
                foreign, and items which claim the benefit of priority to any of the foregoing,
                whether in whole or in part, directly or indirectly owned, licensed, and/or
                optioned (with the right to grant sub-licenses) by NewMarket or an affiliate
                thereof, as of the Effective Date (June 27, 2014) of the Exclusive Distribution and
                License Agreement or during the term of said agreement, which relate to the
                Omeprazole DSI Products, and their development, manufacture, or use in the
                Field and in the Territory, as defined below, including, but not limited to, the
                following:

                   Item     Country Patent Application       Filing Date         Title
                                        or Patent No.
                     1      US      61/437763             01/31/2011
                     2      US      13/343,692; issued as 01/04/2012;     Animal treatments
                                    8,722,636             issued
                                                          05/13/2014

                     3      US      14/275,019; issued as 05/12/2014;    Animal Treatments
                                                          issued
                                    10,022,361            07/18/2018
                                                          05/12/2014;    Animal Treatment
                     4      US      14/275,031; issued as issued
                                    9,402,835             08/02/2016
                     5      WO         PCT/US2012/020242         01/04/2012        Animal Treatment
                     6      US         61/674,435                07/23/2012
                     7      US         61/678,355                01/08/2012
                     8      US         61/641,509                02.05.2012
                     9      WO         PCT/US2012/070031         12/17/2012        Pharmaceutical
                                                                                   compositions for
                                                                                   direct systemic
                                                                                   introduction
                     10    US         14/398,085                10/30/2014
                     11    US         16/014,290                06/21/2018


                (collectively, the “IP/Patent Rights”),

in the Field (defined as “the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals”) and Territory (defined as “the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia”).




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        Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 60 of 73
                                                                                                      Electronically Filed - Buchanan - September 14, 2018 - 04:04 PM
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED THAT:

       VetBridge’s cash bond in the sum of $1,000, previously posted with the Clerk of the

Circuit Court of Buchanan County, Missouri shall remain in place.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

       A hearing is set on Plaintiff's motion for a preliminary injunction made in its Verified

Petition for November 5, 2018 at 9:30 a.m. in Division 1 of the Circuit Court for Buchanan

County, Missouri.

       This Temporary Restraining Order is entered at 10:45 a.m. and will remain in effect until

the November 5, 2018 preliminary injunction hearing, or further Order of this Court.

       At the preliminary injunction hearing the Court will consider whether to award VetBridge

its attorney’s fees, court costs, and other costs incurred in this proceeding, pursuant to Missouri

law and in accordance with the Agreement.

       IT IS SO ORDERED.




Date                                                 Circuit Court Judge




                                    7
       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 61 of 73
Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 62 of 73
            IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                              (DIVISION NO. 1)


VetBridge Product Development Subsidiary I        )
(NM-OMP), LLC,                                    )
                                                  )
               Plaintiff,                         )    Case No. 18BU-CV03640
                                                  )
vs.                                               )
                                                  )
NewMarket Pharmaceuticals, LLC,                   )
                                                  )
               Defendant.
                                                  )


                    AMENDED TEMPORARY RESTRAINING ORDER

       Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC’s (“VetBridge”)

filed its Verified Petition for Damages, Specific Performance & Injunctive Relief and Exhibit A

thereto (the “Verified Petition”) against Defendant NewMarket Pharmaceuticals, LLC

(“Defendant” or “NewMarket”) on August 29, 2018. The Court issued an ex parte Temporary

Restraining Order on September 5, 2018. The matter comes before the Court on September 14,

2018 for a hearing on Plaintiff’s Motion for a Preliminary Injunction against Defendant.

       Plaintiff appeared through its counsel, Greer S. Lang and Thomas Stahl, and in person

through its manager, Kevin Speltz. Defendant appeared through counsel, Aimee Davenport and

Robert M. Pollaro. There are no other appearances.

       The parties, through counsel, stipulated to continue the hearing on Plaintiff’s Motion for

Preliminary Injunction to November 5, 2018 at 9:30 a.m., and agreed that the Temporary

Restraining Order previously entered in this matter shall remain in effect until that date. Prior to

       Based upon the parties’ stipulation and agreement, and being fully advised in the premises,

the Court reaffirms and adopts the Court’s findings and conclusions, as set forth in the Court’s

September 5, 2018 Temporary Restraining Order, and as restated below:



       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 63 of 73
       1.      Based upon the statements of counsel and the sworn statement of Kevin Speltz,

VetBridge’s managing member, in the Verified Petition, pursuant to Mo. R. Civ. P. 92.02(b)(2),

the Court finds that a temporary restraining order may properly be issued without notice to

NewMarket. Specifically, the Court finds that there is a significant risk that providing notice of

this proceeding under Mo. R. Civ. P. 92.02(a)(3) would provide NewMarket with an opportunity,

prior to the issuance of a temporary restraining order, to directly or indirectly pledge, encumber,

assign, transfer, dispose of or otherwise convey or grant rights or interests in or to its Omeprazole

DSI Products and/or the IP/Patent Rights relating thereto, as defined below, thereby defeating the

very purpose of the requested relief.

       2.      VetBridge has petitioned this Court for a temporary restraining order to enjoin and

restrain Defendant NewMarket from directly or indirectly pledging, encumbering, assigning,

transferring, disposing of or otherwise conveying or granting any rights or interests in or to:

       (a)     NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving
               formulations of omeprazole (used for both the treatment and prevention of ulcers),
               including omeprazole direct systemic introduction (DSI) compositions for use in
               all non-human animals including especially equine animals, and (b) any revisions,
               alterations, or improvements to such products (collectively, the “Omeprazole DSI
               Products), and/or

       (b)     NewMarket’s IP/Patent Rights relating thereto, including all patents and patent
               applications, and all divisionals, continuations, continuations-in-part, counterparts,
               re-examinations, reissues, extensions, registrations, and supplementary or
               complementary certificates and the like, both domestic and foreign, and items
               which claim the benefit of priority to any of the foregoing, whether in whole or in
               part, directly or indirectly owned, licensed, and/or optioned (with the right to grant
               sub-licenses) by NewMarket or an affiliate thereof, as of the Effective Date (June
               27, 2014) of the Exclusive Distribution and License Agreement or during the term
               of said agreement, which relate to the Omeprazole DSI Products, and their
               development, manufacture, or use in the Field and in the Territory, as defined
               below, including, but not limited to, the following:




                                    2
       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 64 of 73
                      Item     Country Patent Application       Filing Date         Title
                                           or Patent No.
                       1       US      61/437763             01/31/2011
                       2       US      13/343,692; issued as 01/04/2012;     Animal treatments
                                       8,722,636             issued
                                                             05/13/2014
                                                             05/12/2014;    Animal Treatments
                                       14/275,019; issued as
                       3       US                            issued
                                       10,022,361
                                                             07/18/2018
                                                             05/12/2014;    Animal Treatment
                                       14/275,031; issued as
                       4       US                            issued
                                       9,402,835             08/02/2016
                       5       WO        PCT/US2012/020242        01/04/2012       Animal Treatment
                       6       US        61/674,435               07/23/2012
                       7       US        61/678,355               01/08/2012
                       8       US        61/641,509               02.05.2012
                       9       WO        PCT/US2012/070031        12/17/2012       Pharmaceutical
                                                                                   compositions for
                                                                                   direct systemic
                                                                                   introduction
                      10      US        14/398,085               10/30/2014
                      11      US        16/014,290               06/21/2018


                (collectively, the “IP/Patent Rights”),

in the Field (defined as “the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals”) and Territory (defined as “the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia”).

        3.      VetBridge has submitted persuasive evidence, through its Verified Petition and Ex

Parte Motion for a Temporary Restraining Order, and the Court finds, that:

        (a)     The June 27, 2014 Exclusive Distribution and License Agreement (the
                “Agreement,” Exhibit A to the Verified Petition) is a valid and enforceable
                agreement.

        (b)     Pursuant to the Agreement, for and in consideration of VetBridge’s payment of
                $4,000,000 to NewMarket, which sums were to be used “solely for direct expenses
                related to the development of the [Omeprazole DSI] Products,” NewMarket:

                (1)        Appointed VetBridge as its “sole and exclusive authorized wholesale
                           distributor and reseller to advertise, promote, market, distribute, supply and


                                     3
        Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 65 of 73
             sell (“Distribute” or “Distribution”)” NewMarket’s Omeprazole DSI
             Products in the Field and Territory; and

      (2)    Granted VetBridge, “in connection with the Distribution of the
             [Omeprazole DSI] Products in the Territory, an exclusive, transferable,
             perpetual and royalty-free right and license to use, sell, offer for sale,
             import, and Distribute, with the right to sub-license, the IP/Patent Rights in
             the Field and Territory.

(c)   VetBridge made timely payment to NewMarket of the $4,000,000 due under the
      Agreement.

(d)   The Agreement expressly prohibits NewMarket from assigning, subcontracting,
      delegating or otherwise transferring any of its rights or obligations under the
      Agreement, or from contracting with any third parties to perform any of its
      obligations under the Agreement, without VetBridge’s prior written consent.

(e)   Further, given NewMarket’s grant to VetBridge of “an exclusive, transferable,
      perpetual and royalty-free right and license to use, sell, offer for sale, import, and
      Distribute, with the right to sub-license” NewMarket’s IP/Patent Rights within the
      agreed upon Field and Territory, NewMarket is prohibited from assigning or
      granting to any other person or entity a license for its IP/Patent Rights in the Field
      and Territory.

(f)   Additionally, the Agreement, at Paragraph 12(f), expressly prohibits NewMarket
      from granting any security interests or permitting any liens against its IP/Patent
      Rights, without VetBridge’s prior consent.

(g)   A “change of control,” as defined in Paragraph 13(d)(v) of the Agreement, has
      occurred.

(h)   In the event of a “change of control,” pursuant to Paragraph 13(d)(ii) of the
      Agreement, VetBridge is entitled to:

      (1)    The exclusive right to make and commercialize [the Omeprazole DSI]
             Products in the Field and in the Territory as granted under the Agreement
             as well as the right to assume the beneficial position of [NewMarket’s]
             relationship with any Collaborator [including, but not limited to,
             Collaborators Catalent Pharma Solutions, LLC and Srini Pharmaceuticals
             of India,] to make and commercialize the [Omeprazole DSI] Product in the
             Field and in the Territory without further consideration or compensation to
             [NewMarket’s] successor; and
      (2)    A license from [NewMarket] (or its successor as applicable) for all rights to
             the [Omeprazole DSI] Products, including manufacturing, subject to no
             more than a maximum running royalty rate of 7.00% of Net Sales (whereby,
             unless mutually agreed otherwise, "Net Sales" shall correspond to gross
             revenues received from the sale of [the Omeprazole DSI] Products less sales


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                      and/or use taxes actually paid, import and/or export duties actually paid,
                      outbound transportation prepaid or allowed, and amounts allowed or
                      credited due to returns (not to exceed the original billing or invoice amount),
                      with such maximum royalty rate contingent upon [VetBridge] securing no
                      less favorable terms with any [NewMarket] Collaborators as [NewMarket]
                      had obtained.
         (i)   VetBridge has requested specific performance of the Agreement, and specifically,
               enforcement of its rights under Paragraph 13(d)(ii), in Count III of its Verified
               Petition.

         (j)   In the absence of the requested temporary restraining order, VetBridge will suffer
               immediate and irreparable harm, in that, among other things:

               (1)    VetBridge’s rights under the Agreement and in NewMarket’s Omeprazole
                      DSI Products and the IP/Patent Rights relating thereto are unique, and
                      VetBridge is without an adequate remedy at law; and

               (2)    Any judgment of specific performance, as requested in Count III of the
                      Verified Petition, would be rendered ineffectual, if NewMarket were to
                      directly or indirectly pledge, encumber, assign, transfer, dispose of or
                      otherwise convey or grant any rights or interest in or to its Omeprazole DSI
                      Products and/or its IP/Patent Rights relating thereto to any person or entity,
                      in direct violation of VetBridge’s exclusive rights and license in and to the
                      same.

         IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant

NewMarket Pharmaceuticals, LLC, together with its officers, managers, members, agents,

affiliates, attorneys, and employees, and all other persons in active concert or participation with

them, are hereby enjoined and restrained from directly or indirectly pledging, encumbering,

assigning, transferring, disposing of or otherwise conveying or granting any rights or interests in

or to:

         1.    NewMarket’s Omeprazole DSI Products, consisting of (a) rapidly dissolving
               formulations of omeprazole (used for both the treatment and prevention of ulcers),
               including omeprazole direct systemic introduction (DSI) compositions for use in
               all non-human animals including especially equine animals, and (b) any revisions,
               alterations, or improvements to such products (collectively, the “Omeprazole DSI
               Products), and/or

         2.    NewMarket’s IP/Patent Rights relating thereto, including all patents and patent
               applications, and all divisionals, continuations, continuations-in-part, counterparts,
               re-examinations, reissues, extensions, registrations, and supplementary or


                                      5
         Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 67 of 73
                complementary certificates and the like, both domestic and foreign, and items
                which claim the benefit of priority to any of the foregoing, whether in whole or in
                part, directly or indirectly owned, licensed, and/or optioned (with the right to grant
                sub-licenses) by NewMarket or an affiliate thereof, as of the Effective Date (June
                27, 2014) of the Exclusive Distribution and License Agreement or during the term
                of said agreement, which relate to the Omeprazole DSI Products, and their
                development, manufacture, or use in the Field and in the Territory, as defined
                below, including, but not limited to, the following:

                   Item     Country Patent Application       Filing Date         Title
                                        or Patent No.
                     1      US      61/437763             01/31/2011
                     2      US      13/343,692; issued as 01/04/2012;     Animal treatments
                                    8,722,636             issued
                                                          05/13/2014
                                                          05/12/2014;    Animal Treatments
                                    14/275,019; issued as
                     3      US                            issued
                                    10,022,361
                                                          07/18/2018
                                                          05/12/2014;    Animal Treatment
                                    14/275,031; issued as
                     4      US                            issued
                                    9,402,835             08/02/2016
                     5      WO          PCT/US2012/020242        01/04/2012        Animal Treatment
                     6      US          61/674,435               07/23/2012
                     7      US          61/678,355               01/08/2012
                     8      US          61/641,509               02.05.2012
                     9      WO          PCT/US2012/070031        12/17/2012        Pharmaceutical
                                                                                   compositions for
                                                                                   direct systemic
                                                                                   introduction
                     10    US         14/398,085                10/30/2014
                     11    US         16/014,290                06/21/2018


                (collectively, the “IP/Patent Rights”),

in the Field (defined as “the veterinary use of rapidly dissolving formulations of omeprazole in all non-

human animals including especially horses and other equine animals”) and Territory (defined as “the

veterinary market in the United States of America including all of its states, districts, territories, and

possessions, including the District of Columbia”).




                                     6
        Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 68 of 73
       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED THAT:

       VetBridge’s cash bond in the sum of $1,000, previously posted with the Clerk of the Circuit

Court of Buchanan County, Missouri shall remain in place.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED THAT:

       A hearing is set on Plaintiff's motion for a preliminary injunction made in its Verified

Petition for November 5, 2018 at 9:30 a.m. in Division 1 of the Circuit Court for Buchanan

County, Missouri.

       This Temporary Restraining Order is entered at 10:45 a.m. and will remain in effect until

the November 5, 2018 preliminary injunction hearing, or further Order of this Court.

       At the preliminary injunction hearing the Court will consider whether to award VetBridge

its attorney’s fees, court costs, and other costs incurred in this proceeding, pursuant to Missouri

law and in accordance with the Agreement.

       IT IS SO ORDERED.



September 25, 2018
Date                                                 Circuit Court Judge




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       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 69 of 73
                                                                                             Electronically Filed - Buchanan - October 05, 2018 - 02:16 PM
             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                                  DIVISION 1

VetBridge Product Development Subsidiary I    )
(NM-OMP), LLC,                                )
                                              )
                Plaintiff,                    )    Case No. 18BU-CV03640
                                              )
vs.                                           )
                                              )
NewMarket Pharmaceuticals, LLC,               )
                                              )
                Defendant.
                                              )

                                ENTRY OF APPEARANCE

         COMES NOW Brian W. Fields of the law firm Lathrop Gage LLP, and hereby enters his

appearance as co-counsel of record on behalf of Plaintiff VetBridge Product Development

Subsidiary I (NM-OMP), LLC.



      Dated: October 5, 2018.                 Respectfully submitted by,

                                              LATHROP GAGE LLP

                                              BY: /s/ Brian W. Fields
                                              Greer S. Lang        MO #40107
                                              Brian W. Fields      MO #45704
                                              2345 Grand Boulevard, Suite 2200
                                              Kansas City, Missouri 64108-2618
                                              Phone: 816.292.2000
                                              Fax: 816.292.2001
                                              glang@lathropgage.com
                                              bfields@lathropgage.com

                                              Attorneys for Plaintiff




         Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 70 of 73
                                                                                                      Electronically Filed - Buchanan - October 05, 2018 - 02:16 PM
                                CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2018. I electronically filed a true and correct copy of
the above and foregoing with the Clerk of the Circuit Court by using the CM/ECF system which,
will send a notice of electronic filing to all counsel of record registered through the Court’s
CM/ECF system, and that, on that same date, I served a true and correct copy of the same, by
email, addressed to:

Aimee Davenport                              Robert M. Pollaro
STINSON LEONARD STREET LLP                   CADWALADER, WICKERSHAM & TAFT LLP
230 W. McCarty Street                        200 Liberty Street
Jefferson City, MO 65101                     New York, NY 10281
aimee.davenport@stinson.com                  Robert.Pollaro@cwt.com

Attorneys for Defendant

                                                   /s/ Brian W. Fields
                                             An Attorney for Plaintiff




30209555v1                          2
       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 71 of 73
                                                                                                     Electronically Filed - Buchanan - October 05, 2018 - 02:13 PM
              IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI
                                   DIVISION 1

VetBridge Product Development Subsidiary I         )
(NM-OMP), LLC,                                     )
                                                   )
                Plaintiff,                         )    Case No. 18BU-CV03640
                                                   )
vs.                                                )
                                                   )
NewMarket Pharmaceuticals, LLC,                    )
                                                   )
                Defendant.
                                                   )

         PLAINTIFF’S NOTICE OF SERVICE OF DISCOVERY TO DEFENDANT

         COMES NOW Plaintiff VetBridge Product Development Subsidiary I (NM-OMP), LLC

(“VetBridge”), by and through counsel, and provides notice that October 5, 2018, it served

Plaintiff’s   First   Request   for   Production   of   Documents    to      Defendant   NewMarket

Pharmaceuticals, LLC., by serving Defendant’s counsel, by email, at the addresses set forth

below.

      Dated: October 5, 2018.                      Respectfully submitted by,

                                                   LATHROP GAGE LLP

                                                   BY: /s/ Greer S. Lang
                                                   Greer S. Lang        MO #40107
                                                   Brian W. Fields      MO #45704
                                                   2345 Grand Boulevard, Suite 2200
                                                   Kansas City, Missouri 64108-2618
                                                   Phone: 816.292.2000
                                                   Fax: 816.292.2001
                                                   glang@lathropgage.com
                                                   bfields@lathropgage.com

                                                   Attorneys for Plaintiff




         Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 72 of 73
                                                                                                      Electronically Filed - Buchanan - October 05, 2018 - 02:13 PM
                                CERTIFICATE OF SERVICE

        I hereby certify that on October 5, 2018. I electronically filed a true and correct copy of
the above and foregoing with the Clerk of the Circuit Court by using the CM/ECF system which,
will send a notice of electronic filing to all counsel of record registered through the Court’s
CM/ECF system, and that, on that same date, I served a true and correct copy of the same, by
email, addressed to:

Aimee Davenport                              Robert M. Pollaro
STINSON LEONARD STREET LLP                   CADWALADER, WICKERSHAM & TAFT LLP
230 W. McCarty Street                        200 Liberty Street
Jefferson City, MO 65101                     New York, NY 10281
aimee.davenport@stinson.com                  Robert.Pollaro@cwt.com

Attorneys for Defendant

                                                   /s/ Greer S. Lang
                                             An Attorney for Plaintiff




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       Case 5:18-cv-06147-BCW Document 1-1 Filed 10/05/18 Page 73 of 73
